   Case 2:10-md-02179-CJB-DPC Document 2394-1 Filed 05/17/11 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



  In re: Oil Spill by the Oil Rig                             MDL No. 2179
         “Deepwater Horizon” in the Gulf
         of Mexico, on April 20, 2010
                                                              SECTION: J
  This Document Relates to:
  All Cases in Pleading Bundle B1                             JUDGE BARBIER

  (This Document also applies to No. 10-2771)                 MAGISTRATE SUSHAN




             SUPPLEMENT TO OPPOSITION TO MOTIONS TO DISMISS
                   THE AMENDED B1 MASTER COMPLAINT


       Plaintiffs respectfully submit the following Supplement to their OMNIBUS MEMORANDUM

OF LAW IN OPPOSITION TO DEFENDANTS’ MOTIONS TO DISMISS THE AMENDED B1 MASTER

COMPLAINT [Doc 1128], to call the Court’s attention to the following:

   1. Catalyst Old River Hydroelectric vs. Ingram Barge Co., No.10-30466, 2011 WL
      1449616 (5th Cir. 4/15/2011), in which the U.S. Fifth Circuit Court of Appeals reversed
      summary judgment with respect to damages incurred by a power company when the
      defendant’s barge interfered with the flow of water through the intake channel to the
      turbines. The Court held that the resulting disruption to the plaintiffs’ use of its property
      as a hydroelectric station was a cognizable injury under the Robins Dry Dock test.
      Further, recognizing that acts taken in mitigation to prevent permanent physical damage
      can satisfy the physical damage requirement, the Court indicated that the plaintiff could
      also recover for the physical recovery effort to secure and remove the barge from the
      intake channel, which required a reduction in the flow of water necessary for the turbines
      to operate properly and generate the power they were designed to generate.

   2. Phillips v. G&H Seed Co., et al, 10-1405 (La. App. 3rd Cir. 5/11/2011), 2011 WL
      1773269, in which a panel of the Louisiana Third Circuit Court of Appeal confirmed that
      Louisiana follows a case-specific duty/risk analysis to economic losses, as opposed to a
      “bright-line” Robins Dry Dock approach, and remanded for further consideration the
      question of whether the manufacturer of a chemical that is alleged to have decimated the
   Case 2:10-md-02179-CJB-DPC Document 2394-1 Filed 05/17/11 Page 2 of 5




       Louisiana crawfish population could be held liable under the circumstances to crawfish
       buyers, processors and resellers under the traditional duty/risk analysis, (irrespective of
       whether some or all of the seafood processors had a “proprietary interest” in the crawfish
       themselves).

   3. DAVID W. ROBERTSON, “OPA 90 – Searching for the Line” 9th Judge Alvin B. Rubin
      Conference on Maritime Personal Injury Law (May 13, 2011) [Exhibit “A”], in
      which Professor Robertson supports Plaintiffs’ suggestion of a factual causation standard
      in the interpretation of the OPA statute, and largely rejects the analysis performed by
      Professor Goldberg on behalf of Mr. Feinberg and BP.

   4. Secretary of the Interior, DECISION MEMORANDUM (July 12, 2010) [Exhibit “B”], at
      pp.4-5, in which the Secretary makes it clear that the Moratorium was not only the result
      of the threat of future discharge, but was also a direct result of the Macondo spill, which
      tangled up and limited the available response effort, due to the damages being threatened
      and/or caused to natural resources and other property by the Macondo oil.


       This 17th day of May, 2011.



Respectfully submitted,



        /s/ Stephen J. Herman                            /s/ James Parkerson Roy
Stephen J. Herman, La. Bar No. 23129             James Parkerson Roy, La. Bar No. 11511
HERMAN HERMAN KATZ                               DOMENGEAUX WRIGHT ROY
    & COTLAR LLP                                      & EDWARDS LLC
820 O’Keefe Avenue                               556 Jefferson Street, Suite 500
New Orleans, Louisiana 70113                     Lafayette, Louisiana 70501
Telephone: (504) 581-4892                        Telephone: (337) 233-3033
Fax No. (504) 569-6024                           Fax No. (337) 233-2796
E-Mail: sherman@hhkc.com                         E-Mail: jimr@wrightroy.com
Plaintiffs’ Liaison Counsel                      Plaintiffs’ Liaison Counsel
    Case 2:10-md-02179-CJB-DPC Document 2394-1 Filed 05/17/11 Page 3 of 5




                            PLAINTIFFS’ STEERING COMMITTEE
Brian H. Barr                              Robin L. Greenwald
LEVIN, PAPANTONIO, THOMAS, MITCHELL,       WEITZ & LUXENBERG, PC
ECHSNER & PROCTOR, PA                      700 Broadway
316 South Baylen St., Suite 600            New York, NY 10003
Pensacola, FL 32502-5996                   Office: (212) 558-5802
Office: (850) 435-7045                     Telefax: (212) 344-5461
Telefax: (850) 436-6187                    E-Mail: rgreenwald@weitzlux.com
E-Mail: bbarr@levinlaw.com

Jeffrey A. Breit                           Rhon E. Jones
BREIT DRESCHER IMPREVENTO & WALKER, P.C.   BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
999 Waterside Drive, Suite 1000            MILES, P. C.
Norfolk, VA 23510                          218 Commerce St., P.O. Box 4160
Office: (757) 670-3888                     Montgomery, AL 36104
Telefax: (757) 670-3895                    Office: (334) 269-2343
E-Mail: jbreit@bdbmail.com                 Telefax: (334) 954-7555
                                           E-Mail: rhon.jones@beasleyallen.com

Elizabeth J. Cabraser                      Matthew E. Lundy
LIEFF, CABRASER, HEIMANN &                 LUNDY, LUNDY, SOILEAU & SOUTH, LLP
BERNSTEIN, LLP                             501 Broad Street
275 Battery Street, 29th Floor             Lake Charles, LA 70601
San Francisco, CA 94111-3339               Office: (337) 439-0707
Office: (415) 956-1000                     Telefax: (337) 439-1029
Telefax: (415) 956-1008                    E-Mail: mlundy@lundylawllp.com
E-Mail: ecabraser@lchb.com

Philip F. Cossich, Jr.                     Michael C. Palmintier
COSSICH, SUMICH, PARSIOLA & TAYLOR         deGRAVELLES, PALMINTIER,
8397 Highway 23, Suite 100                 HOLTHAUS & FRUGE’
Belle Chasse, LA 70037                     618 Main Street
Office: (504) 394-9000                     Baton Rouge, LA 70801-1910
Telefax: (504) 394-9110                    Office: (225) 344-3735
E-Mail: pcossich@cossichlaw.com            Telefax: (225) 344-0522
                                           E-Mail: mpalmintier@dphf-law.com
Robert T. Cunningham
CUNNINGHAM BOUNDS, LLC                     Paul M. Sterbcow
1601 Dauphin Street, P. O. Box 66705       LEWIS, KULLMAN, STERBCOW & ABRAMSON
Mobile, AL 36660                           601 Poydras Street, Suite 2615
Office: (251) 471-6191                     New Orleans, LA 70130
Telefax: (251) 479-1031                    Office: (504) 588-1500
E-Mail: rtc@cunninghambounds.com           Telefax: (504) 588-1514
                                           E-Mail: sterbcow@lksalaw.com
    Case 2:10-md-02179-CJB-DPC Document 2394-1 Filed 05/17/11 Page 4 of 5



Alphonso Michael “Mike” Espy           Scott Summy
MORGAN & MORGAN, P.A.                  BARON & BUDD, P.C.
188 East Capitol Street, Suite 777     3102 Oak Lawn Avenue, Suite 1100
Jackson, MS 39201                      Dallas, TX 75219
Office: (601) 949-3388                 Office: (214) 521-3605
Telefax: (601) 949-3399                Telefax: (214) 599-1172
E-Mail: mike@mikespy.com               E-Mail: ssummy@baronbudd.com

Calvin C. Fayard, Jr.                  Mikal C. Watts (PSC)
FAYARD & HONEYCUTT                     WATTS GUERRA CRAFT, LLP
519 Florida Avenue, SW                 Four Dominion Drive, Building 3, Suite 100
Denham Springs, LA 70726               San Antonio, TX 78257
Office: (225) 664-4193                 Office: (210) 447-0500
Telefax: (225) 664-6925                Telefax: (210) 447-0501
E-Mail: calvinfayard@fayardlaw.com     E-Mail: mcwatts@wgclawfirm.com

Ervin A. Gonzalez
COLSON HICKS EIDSON
255 Alhambra Circle, Penthouse
Coral Gables, FL 33134
Office: (305) 476-7400
Telefax: (305) 476-7444
E-Mail: ervin@colson.com


Of Counsel:
J OSH S. W HITLEY
BILLIE H. L EETH
STEVEN E. F INEMAN
ANNIKA K. M ARTIN
J ASON L. L ICHTMAN
BRIAN C OLOMB
DAVID BAGWELL
J AMES G ARNER
ABAGAIL G AUNT
STEPHEN M URRAY, J R .
J OHNNY DE G RAVELLES
NEALE DE G RAVELLES
L ARRY BERMAN
T OM SIMS
J ULIA L E M ENSE
DEBORAH W ATERS
G ARY M ASON
K EVIN DEAN
On Brief
   Case 2:10-md-02179-CJB-DPC Document 2394-1 Filed 05/17/11 Page 5 of 5




                                CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY that the above and foregoing Supplement has been served on
All Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance
with Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court
of the United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on May 17, 2011.

                                             /s/ Stephen J Herman and James Parkerson Roy
